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 8                        UNITED STATES DISTRICT COURT

 9                       EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,             No.   2:19-cr-00003-JAM-1
12                   Plaintiff,
13         v.                              ORDER FOR VOLUNTARY SURRENDER
14   LUIS ALBERTO VALERIO
     MARTINEZ,
15
                     Defendant.
16

17
          Luis Alberto Valerio Martinez, having been sentenced to the
18
     custody of the Bureau of Prisons, shall surrender to the
19
     institution designated by the Bureau of Prisons, or if no such
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     institution has been designated, to the United States Marshal in
21
     Sacramento, California before 2:00 p.m. on September 17, 2020.
22
     The defendant is further advised it is a criminal offense
23
     punishable by a consecutive term of imprisonment to fail to
24
     surrender for service of sentence pursuant to the order of this
25
     Court.     All conditions of pretrial release shall remain in effect
26
     until the defendant surrenders in accordance with this order.
27
          The Court reserves jurisdiction over this matter, and will
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                                           1
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 1   only change the date or time of voluntary surrender upon motion

 2   of either the defendant or the government with good cause

 3   appearing.

 4        The Clerk is directed to serve the U.S. Marshals Service a

 5   copy of the order.

 6        IT IS SO ORDERED.

 7   Dated:   2/4/2020

 8                                             /s/ John A. Mendez__________
                                               John A. Mendez,
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                                               United States District Judge
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